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                                                                          1                     IN THE UNITED STATES DISTRICT COURT
                                                                          2                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          3
                                                                              IN RE: CATHODE RAY TUBE (CRT)      ) MDL No. 1917
                                                                          4   ANTITRUST LITIGATION               )
                                                                                                                 ) Case No. C-07-5944-SC
                                                                          5                                      )
                                                                              This Order Relates To:             ) ORDER RE: THOMSON DISCOVERY
                                                                          6                                      )
                                                                              Sharp Electronics Corp. v. Hitachi )
                                                                          7   Ltd., No. C-13-1173-SC;            )
                                                                                                                 )
                                                                          8   Electrograph Systems, Inc. v.      )
                                                                              Technicolor SA, No. 13-cv-05724;   )
                                                                          9                                      )
                                                                              Siegel v. Technicolor SA, No. 13- )
                                                                         10   cv-05261;                          )
                               For the Northern District of California
United States District Court




                                                                                                                 )
                                                                         11   Best Buy Co., Inc. v. Technicolor )
                                                                              SA, No. 13-cv-05264;               )
                                                                         12                                      )
                                                                              Target Corp. v. Technicolor SA,    )
                                                                         13   No. 13-cv-05686                    )
                                                                                                                 )
                                                                         14   Interbond Corporation of America   )
                                                                              v. Technicolor                     )
                                                                         15   SA, No. 13-cv-05727;               )
                                                                                                                 )
                                                                         16   Office Depot, Inc. v. Technicolor )
                                                                              SA, No. 13-cv-05726;               )
                                                                         17                                      )
                                                                              Costco Wholesale Corporation v.    )
                                                                         18   Technicolor SA, No. 13-cv-05723;   )
                                                                                                                 )
                                                                         19   P.C. Richard & Son Long Island     )
                                                                              Corporation v. Technicolor SA, No. )
                                                                         20   13-cv-05725;                       )
                                                                                                                 )
                                                                         21   Schultze Agency Services, LLC v.   )
                                                                              Technicolor SA, Ltd., No. 13-cv-   )
                                                                         22   05668;                             )
                                                                                                                 )
                                                                         23   Sears, Roebuck and Co. and Kmart   )
                                                                              Corp. v. Technicolor SA, No. 3:13- )
                                                                         24   cv-05262;                          )
                                                                                                                 )
                                                                         25   Tech Data Corp., et al. v.         )
                                                                              Hitachi, Ltd., et al., No. 13-cv- )
                                                                         26   00157;                             )
                                                                                                                 )
                                                                         27   Crago, et al. v. Mitsubishi Elec. )
                                                                              Corp., et al., No. 14-cv-02058.    )
                                                                         28                                      )
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                                                                          1   I.      INTRODUCTION
                                                                          2           Now before the Court are several issues related to the Direct
                                                                          3   Action Plaintiffs' ("DAPs") discovery efforts against Defendants
                                                                          4   Thomson SA and Thomson Consumer ("Thomson").            First, Thomson
                                                                          5   objects to the Special Master's1 Recommended Order, ECF No. 2812
                                                                          6   ("R&R") granting DAPs', led by Sharp, motion to compel production
                                                                          7   of various documents and witnesses in France pursuant to the
                                                                          8   Federal Rules of Civil Procedure.            ECF No. 2849 ("Obj.").      Without
                                                                          9   prejudice to the motion to compel, DAPs seek similar discovery via
                                                                         10   the issuance of letters of request for international judicial
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                                                                         11   assistance in the production of documents, ECF No. 2716 ("Docs.
                                                                         12   Mot."), and depositions in France, ECF No. 2776 ("Depos. Mot."),
                                                                         13   pursuant to the procedures of the Hague Convention.2             Finally, in
                                                                         14   light of the passage of the fact discovery deadline on September 5,
                                                                         15   2014, DAPs seek to extend the deadline to permit the aforementioned
                                                                         16   productions and depositions to take place.            ECF No. 2773 ("Deadline
                                                                         17   Mot.").      The motions and objection are fully briefed,3 and
                                                                         18   appropriate for resolution without oral argument under Civil Local
                                                                         19   Rule 7-1(b).      For the reasons set forth below, the Court DENIES
                                                                         20   Thomson's objection and GRANTS DAPs' motion to compel.                 Having
                                                                         21   found that DAPs need not resort to Hague Convention procedures in
                                                                         22
                                                                              1
                                                                         23     On December 17, 2013 the Court appointed the Honorable Vaughn R.
                                                                              Walker, United States District Judge (Retired), as a Special Master
                                                                         24   to assist the Court with discovery matters. ECF No. 2272.
                                                                              2
                                                                         25     Hague Convention on the Taking of Evidence Abroad in Civil or
                                                                              Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, T.I.A.S. No.
                                                                         26   7444 (codified at 28 U.S.C. § 1780) ("Hague Convention").
                                                                              3
                                                                         27     ECF Nos. 2727 ("Docs. Opp'n"); 2782 ("Depos. Opp'n"); 2783
                                                                              ("Deadline Opp'n"). Plaintiff ViewSonic Corporation also submitted
                                                                         28   a brief memorandum in support of DAPs' motion to extend the
                                                                              discovery deadline. ECF No. 2778 ("Viewsonic Br.").


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                                                                          1   seeking the documents and depositions at issue, DAPs are ORDERED to
                                                                          2   file a statement explaining whether they intend to proceed with
                                                                          3   their motions for the issuance of letters of request.              Finally, the
                                                                          4   Court GRANTS DAPs' motion to extend the cutoff for discovery of
                                                                          5   Thomson.
                                                                          6
                                                                          7   III. BACKGROUND
                                                                          8           The parties are familiar with the factual and procedural
                                                                          9   background of the case.        DAPs, led by Sharp, seek discovery of
                                                                         10   documents and witnesses in France.           Specifically, DAPs pursue
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                                                                         11   documents held by Thomson in France that are relevant to Thomson's
                                                                         12   communications with competitors and aspects of Thomson's CRT
                                                                         13   business, and documents produced to various foreign regulatory
                                                                         14   agencies during prior investigations related to price fixing in the
                                                                         15   CRT industry.       Those include documents produced during a 2012
                                                                         16   European Commission ("EC") investigation that found Defendants
                                                                         17   participated in a price fixing cartel for CRTs.             See Docs. Mot. at
                                                                         18   4-5.     DAPs also wish to depose four former Thomson employees in
                                                                         19   France who have been identified as potential participants in
                                                                         20   meetings related to the alleged CRT conspiracy.             Depos. Mot. at 2.
                                                                         21   To provide time for this discovery to take place, the DAPs request
                                                                         22   extension of the fact discovery deadline.            Deadline Mot. at 4-5.
                                                                         23           DAPs propose two alternative means of obtaining this
                                                                         24   discovery.      First, DAPs argue that, notwithstanding the provisions
                                                                         25   of the so-called French Blocking Statute,4 the Federal Rules of
                                                                         26   4
                                                                                See Loi No. 80-538 du 16 juillet 1980 relative à la communication
                                                                         27   de documents et renseignements d'ordre économique, commercial ou
                                                                              technique à des personnes physiques ou morales étrangères [Law 80-
                                                                         28   538 of July 16, 1980 relating to the Communication of Economic,
                                                                              Commercial, Industrial, Financial or Technical Documents or


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                                                                          1   Civil Procedure should govern the discovery sought here.            Without
                                                                          2   prejudice to that position, DAPs propose the Court issue letters of
                                                                          3   request for international judicial assistance in obtaining the
                                                                          4   documents and depositions sought.         Thomson disagrees with both
                                                                          5   positions, arguing (1) that permitting discovery to go forward
                                                                          6   under the Federal Rules of Civil Procedure will, by virtue of the
                                                                          7   French Blocking Statute, subject them to possible French criminal
                                                                          8   sanctions for compliance, and (2) DAPs' letters of request are
                                                                          9   overly broad, unduly burdensome, and do not comply with the Hague
                                                                         10   Convention and French government's requirements for international
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                                                                         11   discovery requests.
                                                                         12        DAPs' first position, that the discovery sought should be
                                                                         13   obtained through the Federal Rules of Civil Procedure, was raised
                                                                         14   in a motion to compel production of documents and a Rule 30(b)(6)
                                                                         15   deponent before the Special Master.        In that motion, DAPs contended
                                                                         16   that the Supreme Court's decision in Société Nationale Industrielle
                                                                         17   Aérospatiale v. United States District Court for the Southern
                                                                         18   District of Iowa, 482 U.S. 522 (1987) ("Aerospatiale"), forecloses
                                                                         19   any obligation to resort first to Hague Convention procedures.
                                                                         20
                                                                         21   Information to Foreign, Natural or Legal Person], J. Officiel de la
                                                                              République Française [J.O.] [Official Gazette of France], July 17,
                                                                         22   1980, p. 1799 ("French Blocking Statute").

                                                                         23   The law provides:

                                                                         24        "Subject to treaties or international agreements and
                                                                                   applicable laws and regulations, it is prohibited for any
                                                                         25        party to request, seek or disclose, in writing, orally or
                                                                                   otherwise, economic, commercial, industrial, financial or
                                                                         26        technical documents or information leading to the constitution
                                                                                   of evidence with a view to foreign judicial or administrative
                                                                         27        proceedings or in connection therewith."

                                                                         28   Société Nationale Industrielle Aérospatiale v. United States Dist.
                                                                              Ct. for the So. Dist. of Iowa, 482 U.S. 522, 527 n.6 (1987).


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                                                                          1   Instead, DAPs argued that under the factors identified in
                                                                          2   Aerospatiale, DAPs' interest in obtaining this discovery outweighed
                                                                          3   the interests of international comity that might otherwise compel
                                                                          4   them to seek discovery through the Hague Convention.             The Special
                                                                          5   Master concurred, finding that Sharp and the DAPs need not resort
                                                                          6   to the Hague Convention procedures,5 they "may be well advised to
                                                                          7   proceed simultaneously under the more cumbersome procedures of the
                                                                          8   Hague Convention" and as a result, the Special Master suggested the
                                                                          9   Court give its prompt attention to DAPs' motions for issuance of
                                                                         10   letters of request.        R&R at 6.
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                                                                         11           Now Thomson objects.
                                                                         12
                                                                         13   III. LEGAL STANDARDS
                                                                         14           A.    Review of Orders by the Special Master
                                                                         15           The Court reviews the Special Master's factual findings for
                                                                         16   clear error, his legal conclusions de novo, and his procedural
                                                                         17   decisions for abuse of discretion.           Fed. R. Civ. P. 53(f)(3)-(5);
                                                                         18   ECF No. 302 (appointing the previous special master).
                                                                         19           B.    Discovery of Evidence Located Abroad
                                                                         20           The Federal Rules of Civil Procedure authorize party-initiated
                                                                         21   discovery of any evidence that is relevant to any party's claims or
                                                                         22   defenses.      Fed. R. Civ. P. 26(b)(1).       However, Rule 26 grants the
                                                                         23   court discretion to limit discovery on several grounds, including
                                                                         24
                                                                              5
                                                                         25     The Special Master did, however, deny the motion to compel as to
                                                                              one category of documents he found might run afoul of the
                                                                         26   undersigned's prior order foreclosing discovery of the European
                                                                              Commission's investigation and confidential decision involving
                                                                         27   these Defendants. See In re Cathode Ray Tube (CRT) Antitrust
                                                                              Litig., No. 07-cv-5944-SC, 2014 WL 1247770, at *2-4 (N.D. Cal. Mar.
                                                                         28   26, 2014). That decision is currently the subject of a renewed
                                                                              motion to compel by DAPs. ECF No. 2843.


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                                                                          1   international comity.     See Aerospatiale, 482 U.S. at 544.
                                                                          2        The Supreme Court and the Ninth Circuit agree that comity and
                                                                          3   foreign law alone are not dispositive when a discovery dispute
                                                                          4   arises regarding a foreign law's protection of documents sought in
                                                                          5   a United States court.     See id. at 544 & n.29; Societe
                                                                          6   Internationale Pour Participations Industrielles et Commerciales v.
                                                                          7   Rogers, 357 U.S. 197, 208 (1958); Richmark Corp. v. Timber Falling
                                                                          8   Consultants, 959 F.2d 1468, 1474-75 (9th Cir. 1992).          The Court
                                                                          9   must consider the following factors in determining whether or not
                                                                         10   foreign law excuses noncompliance with a United States court's
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                                                                         11   discovery orders:
                                                                         12        (1) the importance to the . . . litigation of the
                                                                                   documents or other information requested; (2) the degree
                                                                         13        of   specificity  of   the  request;  (3)   whether  the
                                                                                   information originated in the United States; (4) the
                                                                         14        availability of alternative means of securing the
                                                                                   information; and (5) the extent to which noncompliance
                                                                         15        with the request would undermine important interests of
                                                                                   the United States, or compliance with the request would
                                                                         16        undermine important interests of the state where the
                                                                                   information is located.
                                                                         17
                                                                         18   Aerospatiale, 482 U.S. at 544 n.28.       This list is not exhaustive.
                                                                         19   The Ninth Circuit has also considered other factors, including "the
                                                                         20   extent and the nature of the hardship that inconsistent enforcement
                                                                         21   would impose upon the person, . . . [and] the extent to which
                                                                         22   enforcement by action of either state can reasonably be expected to
                                                                         23   achieve compliance with the rule prescribed by that state."          United
                                                                         24   States v. Vetco, Inc., 691 F.2d 1281, 1287 (9th Cir. 1981); see
                                                                         25   also Richmark, 959 F.2d at 1475.
                                                                         26        C.    Modification of Scheduling Orders
                                                                         27        Scheduling orders "may be modified only for good cause and
                                                                         28   with the judge's consent."      Fed. R. Civ. P. 16(b)(4).       Pretrial



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                                                                          1   scheduling orders may be modified if the dates scheduled "cannot
                                                                          2   reasonably be met despite the diligence of the party seeking the
                                                                          3   extension."    Johnson v. Mammoth Recreations, Inc., 975 F.2d 604,
                                                                          4   609 (9th Cir. 1992).     The focus of the good cause inquiry is "on
                                                                          5   the moving party's reasons for seeking modification.          If that party
                                                                          6   was not diligent, the inquiry should end."         Id.
                                                                          7
                                                                          8   IV.   DISCUSSION
                                                                          9           The Court addresses three main issues in this order.           First,
                                                                         10   Thomson's objections to the Special Master's report and
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                                                                         11   recommendation granting Sharp and DAPs' motion to compel Thomson to
                                                                         12   produce documents and deponents under the Federal Rules of Civil
                                                                         13   Procedure.    After concluding that the motion to compel should be
                                                                         14   granted, the Court then turns to DAPs' parallel requests for the
                                                                         15   same or similar discovery by means of letters of request for
                                                                         16   international judicial assistance, and DAPs' motion to extend the
                                                                         17   discovery deadline to permit the discovery at issue to take place.
                                                                         18           A.   Objection to Special Master's Recommendation
                                                                         19           In granting Sharp's motion, the Special Master made three
                                                                         20   findings Thomson considers objectionable.         First, the Special
                                                                         21   Master apparently misinterpreted a letter received from the French
                                                                         22   Ministry of Foreign Affairs stating that the provisions of the
                                                                         23   Blocking Statute are "mandatory," and as a result, Thomson
                                                                         24   concludes his analysis is "premised on a fundamental error."             Obj.
                                                                         25   at 1.    Second, Thomson argues the "extraordinary expense and
                                                                         26   burden" imposed by DAPs' requests, id. at 2, belies the Special
                                                                         27   Master's conclusion that the discovery sought could be "completed
                                                                         28   in a matter of weeks, not months or years."         R&R at 7.       Finally,



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                                                                          1   Thomson seizes upon the Special Master's observation that the Court
                                                                          2   might cure possible prejudice resulting from these late discovery
                                                                          3   requests in addressing forthcoming proposals for structuring the
                                                                          4   trials in these matters, and argues that separate treatment would
                                                                          5   "severely prejudice Thomson . . . ."        Obj. at 2.
                                                                          6        The Court reviews each issue de novo.
                                                                          7              1.    Blocking Statute and International Comity
                                                                          8        Thomson's chief objection to the Special Master's report and
                                                                          9   recommendation relates to the French Blocking Statute.              Perhaps no
                                                                         10   single law better illustrates the gulf between American and civil
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                                                                         11   law countries' attitudes toward pre-trial discovery than the
                                                                         12   Blocking Statute.    See Diana Lloyd Muse, Note, Discovery in France
                                                                         13   and the Hague Convention: The Search for a French Connection, 64
                                                                         14   N.Y.U. L. Rev. 1073, 1073-78 (1989) (reviewing the historical,
                                                                         15   social, and cultural context of the Blocking Statute).              As the
                                                                         16   Special Master put it, were the Blocking Statute to be applied
                                                                         17   literally, it "would thwart much of the normal process of discovery
                                                                         18   from French nationals and of evidence located in that country."
                                                                         19   R&R at 4-5.
                                                                         20        In short, the parties disagree as to what extent, if any, the
                                                                         21   interests in international comity embodied in the Hague Convention
                                                                         22   should compel DAPs to refine their requests and resort to the
                                                                         23   Convention's letters of request process so as to avoid running
                                                                         24   afoul of the Blocking Statute.       DAPs argue that because the Supreme
                                                                         25   Court held in Aerospatiale that the Hague Convention's procedures
                                                                         26   for obtaining discovery abroad serve as a "permissive supplement,
                                                                         27   not a pre-emptive replacement, for other means of obtaining
                                                                         28   evidence abroad," 482 U.S. at 539-40, and the comity factors



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                                                                          1   identified by the Court and the Ninth Circuit weigh in their favor,
                                                                          2   the Court should order Thomson to submit to discovery pursuant to
                                                                          3   the Federal Rules of Civil Procedure.        Thomson disagrees, citing a
                                                                          4   letter from an official at the French Ministry of Foreign Affairs
                                                                          5   suggesting that the Blocking Statute's provisions are "mandatory,"
                                                                          6   and that Hague Convention procedures are "potentially applicable in
                                                                          7   this case."   As a result, Thomson argues it may be subjected to
                                                                          8   potential criminal sanctions if it were compelled to produce these
                                                                          9   documents or witnesses outside the Hague Convention process.        See
                                                                         10   Docs. Opp'n at 2-3 (citing In re Advocat Christopher X., Cour de
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                                                                         11   cassation [Cass. Crim.], Paris, crim., Dec. 12, 2007, Bull. crim.,
                                                                         12   No. 7168 [JurisData No. 2007-83228] (Fr.) (fining a lawyer €10,000
                                                                         13   for violating the blocking statute)).
                                                                         14        As mentioned before, the Court considers a series of factors
                                                                         15   in weighing whether foreign laws like the French Blocking Statute
                                                                         16   excuse compliance with an American discovery requests.
                                                                         17   Specifically the Court considers: (1) the importance of the
                                                                         18   discovery to this litigation, (2) the specificity of the requests,
                                                                         19   (3) the origin of the information sought, (4) whether alternative
                                                                         20   means are available to obtain the discovery, (5) the interests of
                                                                         21   the United States and foreign state, (6) the extent of hardship,
                                                                         22   and (7) "the extent to which enforcement by action of either state
                                                                         23   can reasonably be expected to achieve compliance with the rule
                                                                         24   prescribed by that state."      2014 WL 1247770, at *2 (quoting
                                                                         25   Aerospatiale, at 544 n.28; Vetco, 691 F.2d at 1287).
                                                                         26        The parties agree that the information sought originated in
                                                                         27   France, and as a result, that factor weighs in favor of denying the
                                                                         28   motion to compel.    The Court will address each remaining factor in



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                                                                          1   turn.
                                                                          2                     a.   Importance of the Discovery Sought
                                                                          3           First, the discovery sought is highly significant to this
                                                                          4   litigation.    Courts are often more likely to heed a foreign state's
                                                                          5   concerns when the case "does not stand or fall on the present
                                                                          6   discovery order," or if the evidence sought is cumulative,
                                                                          7   Richmark, 959 F.2d at 1475; In re Rubber Chems. Antitrust Litig.,
                                                                          8   486 F. Supp. 2d 1078, 1081 (N.D. Cal. 2007).         Here, while it is
                                                                          9   possible DAPs would be able to prove their claims against Thomson
                                                                         10   without access to this discovery, doing so would be challenging to
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                                                                         11   say the least.    For example, DAPs seek discovery into Thomson's
                                                                         12   communications and meetings with competitors.         This information is
                                                                         13   crucial to DAPs' liability case against Thomson and may inform
                                                                         14   their liability cases against the other alleged co-conspirators.
                                                                         15           Nevertheless, some other materials sought, while relevant, are
                                                                         16   perhaps less important to this litigation.        For instance, documents
                                                                         17   produced to the European Commission ("EC") in its confidential
                                                                         18   investigation of the same alleged cartel are likely to be largely
                                                                         19   cumulative of other DAPs' other requests.        Finally, while documents
                                                                         20   and information regarding the disposition of Thomson's CRT business
                                                                         21   are certainly relevant for discovery purposes, DAPs have not made
                                                                         22   immediately clear how central those documents are to this
                                                                         23   litigation.
                                                                         24           Despite these flaws, on balance this factor weighs strongly in
                                                                         25   favor of granting the motion to compel.
                                                                         26                     b.   Specificity of the Requests
                                                                         27           Second, while always staying within the bounds of permissible
                                                                         28   discovery under the Federal Rules, at times DAPs requests sweep



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                                                                          1   quite broadly.   "[G]eneralized searches for information whose
                                                                          2   disclosure is prohibited under foreign law are discouraged."
                                                                          3   Rubber Chems., 486 F. Supp. 2d at 1083 (citing Richmark, 959 F.2d
                                                                          4   at 1475).   Thomson argues that many of DAPs' requests are
                                                                          5   imprecise, overly broad, burdensome, or seek information that has
                                                                          6   already been produced by Thomson Consumer.        In particular, Thomson
                                                                          7   takes issue with DAPs' requests for production of documents related
                                                                          8   to (1) Thomson Consumer's relationship with Thomson SA, (2) the
                                                                          9   disposition of Thomson's CRT business, and (3) the European
                                                                         10   Commission's confidential investigation of Thomson and other
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                                                                         11   Defendants in this case.     See ECF No. 2716-2 ("Benson Letters
                                                                         12   Decl.") Ex. A ("RFP") Requests Nos. 33, 35-37, 42, 46-60.
                                                                         13        Several of Thomson's complaints have merit.         For instance,
                                                                         14   Request Number 33 calls for:
                                                                         15
                                                                                   All Documents relating to any contemplated, proposed,
                                                                         16        planned,   pending    or   executed   purchases,   sales,
                                                                                   acquisitions, mergers, joint ventures, divestitures,
                                                                         17        transfers, spin-offs or any other change in ownership of
                                                                                   any assets, liabilities, subsidiaries, departments, units
                                                                         18        or other subdivisions of Your or another company relating
                                                                                   to production, distribution, marketing, pricing, sale or
                                                                         19        resale of CRTs during the Relevant Period.
                                                                         20   While this request certainly satisfies the test for relevance in
                                                                         21   discovery, Rule 26(b)(1), the request is also likely to capture a
                                                                         22   significant amount of irrelevant information.         At the same time,
                                                                         23   many, if not most, of DAPs' requests are narrowly-tailored and fall
                                                                         24   far short of "generalized searches for information."          Rubber Chems.
                                                                         25   486 F. Supp. 2d at 1083 (citation omitted).        For instance Request
                                                                         26   Number 2 asks for the identity of executives or employees in
                                                                         27   management positions with respect to specifically enumerated
                                                                         28   aspects of Thomson's CRT business.        See ECF No. 2773-1 ("Benson



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                                                                          1   Decl.") Ex. 9 at 9.
                                                                          2           As a result this factor weighs only minimally against granting
                                                                          3   the motion to compel.
                                                                          4                       c.    Availability Through Alternative Means
                                                                          5           Third, while these documents are nominally available through
                                                                          6   Hague Convention procedures, at this stage they may be unavailable
                                                                          7   as a practical matter.         "If the information sought can easily be
                                                                          8   obtained elsewhere, there is little or no reason to offend foreign
                                                                          9   law."      Rubber Chems., 486 F. Supp. 2d at 1083.
                                                                         10           At this late date, it would be difficult, if not impossible,
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                                                                         11   for DAPs to obtain the discovery expeditiously through Hague
                                                                         12   Convention procedures.         As an empirical study of Hague Convention
                                                                         13   document and deposition requests found, France is particularly slow
                                                                         14   to execute Hague Convention requests, and when they are executed,
                                                                         15   often the results are unsatisfactory.6           Furthermore, while Thomson
                                                                         16   complains that some categories of evidence are available in the
                                                                         17   U.S. and have already been produced, most of the information sought
                                                                         18   in the motion to compel must be obtained one way or another from
                                                                         19   France.
                                                                         20           Accordingly, the lack of alternative means for obtaining much
                                                                         21   of the information sought weighs strongly in favor of production.
                                                                         22                       d.    The Interests of the United States and France
                                                                         23           Fourth, the strong national interests of the United States are
                                                                         24   at play.      This is a case alleging violations of United States
                                                                         25
                                                                              6
                                                                         26     See Am. Bar Ass'n, Int'l Litig. Comm., Section of Int'l L. &
                                                                              Prac., Report on Survey of Experience of U.S. Lawyers with the
                                                                         27   Hague Evidence Convention Letter of Request Procedures, at 7, 10-
                                                                              11, n.16 (Oct. 9, 2003) ("ABA Report"), available at:
                                                                         28   http://www.hcch.net/upload/wop/lse_20us.pdf.



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                                                                          1   antitrust laws, laws that are of "fundamental importance to
                                                                          2   American democratic capitalism."      Mitsubishi Motors Corp. v. Soler
                                                                          3   Chrysler-Plymouth, Inc., 473 U.S. 614, 634 (1985).          As the Supreme
                                                                          4   Court has recognized, enforcement of the antitrust laws through
                                                                          5   private civil actions is an important part of encouraging
                                                                          6   compliance with those laws.      See Hawaii v. Std. Oil Co. of Cal.,
                                                                          7   405 U.S. 251, 262 (1972).     On the other hand, France's interests
                                                                          8   here are significantly weaker.      To be sure, France has an interest
                                                                          9   in controlling foreign access to information within its borders,
                                                                         10   and in protecting its citizens from foreign discovery practices it
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                                                                         11   views as antithetical to the French legal culture.          Nevertheless,
                                                                         12   France also shares an interest in preventing price-fixing behavior,
                                                                         13   as is demonstrated by the European Commission's investigation and
                                                                         14   confidential decision involving price-fixing allegations in the CRT
                                                                         15   market.    See 2014 WL 1247770, at *1 (describing the European
                                                                         16   Commission decision); see also In re Air Cargo Shipping Servs.
                                                                         17   Antitrust Litig., 278 F.R.D. 51, 54 (E.D.N.Y. 2010) (noting that
                                                                         18   "France, given its membership in the European Economic
                                                                         19   Community . . . " has also adopted prohibitions against price-
                                                                         20   fixing).   The national interests in enforcement of antitrust laws
                                                                         21   are "only realized if the parties have access to relevant
                                                                         22   discovery."   Air Cargo, 278 F.R.D. at 54.
                                                                         23        As a result, the United States' strong national interests
                                                                         24   weigh in favor of granting the motion to compel.
                                                                         25                    e.   Extent of Hardship
                                                                         26        Fifth, while Thomson argues this factor weighs strongly in its
                                                                         27   favor, its position is weaker than it may initially appear.
                                                                         28   Specifically, Thomson points to the potential for criminal



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                                                                          1   sanctions if they comply with discovery requests outside the Hague
                                                                          2   Convention process and a letter from the French Ministry of Foreign
                                                                          3   Affairs stating that the provisions of the Blocking Statute are
                                                                          4   "mandatory."   Obj. at 1.    Furthermore, they argue that the Special
                                                                          5   Master misinterpreted this letter when he concluded that it stems
                                                                          6   from an "unrelated matter . . . ."        R&R at 5.
                                                                          7        Thomson is right that the Special Master misinterpreted the
                                                                          8   letter, however that is not enough to tip the scales on this factor
                                                                          9   heavily in their favor.     While the Supreme Court has stated that
                                                                         10   "fear of criminal prosecution constitutes a weighty excuse for
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                                                                         11   nonproduction," Aerospatiale, 357 U.S. at 211, many courts have
                                                                         12   discounted that risk in the context of the French Blocking Statute,
                                                                         13   noting that the Blocking Statute "does not subject defendants to a
                                                                         14   realistic risk of prosecution . . . ."       Bodner v. Banque Paribas,
                                                                         15   202 F.R.D. 370, 375 (E.D.N.Y. 2000); see also Air Cargo, 278 F.R.D.
                                                                         16   at 53-54; Strauss v. Credit Lyonnais, S.A., 249 F.R.D. 429, 454-55
                                                                         17   (E.D.N.Y. 2008); Adidas (Canada) Ltd. v. SS Seatrain Bennington,
                                                                         18   Nos. 80 Civ. 1911, 82 Civ. 0375, 1984 WL 423, at *3 (S.D.N.Y. May
                                                                         19   30, 1984).   In fact, the legislative history of the Blocking
                                                                         20   Statute "gives strong indications that it was never expected or
                                                                         21   intended to be enforced against French subjects but was intended
                                                                         22   rather to provide them with tactical weapons and bargaining chips
                                                                         23   in foreign courts."    Adidas, at *3.
                                                                         24        Furthermore, Thomson's reliance on a case in which a French
                                                                         25   court imposed a monetary sanction for violating the Blocking
                                                                         26   Statute is misplaced.     That case, In re Advocat Christopher X,
                                                                         27   involved a French attorney who made false statements to a potential
                                                                         28   French witness in an effort to obtain evidence to be used in a case



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                                                                          1   pending in California.     See Air Cargo, 278 F.R.D. at 54
                                                                          2   (summarizing the facts of Christopher X).        Christopher X did not
                                                                          3   involve discovery requests made in the California litigation nor
                                                                          4   did it involve a court order compelling production under protest.
                                                                          5   Id.   Thomson has pointed to no similar case, nor indeed any other
                                                                          6   case, in which the Blocking Statute was enforced against a French
                                                                          7   company.   As such the Court finds the risk of prosecution in this
                                                                          8   case, if any, is minimal.     This is true even in light of the
                                                                          9   Ministry of Foreign Affairs' letter in this litigation.             Notably,
                                                                         10   nowhere does the letter suggest or threaten prosecution for
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                                                                         11   complying with discovery requests or orders in this litigation.
                                                                         12   Instead, as at least one other court has found in considering (and
                                                                         13   rejecting) a similar letter, the letter "does little more than
                                                                         14   generally state [France's] interest in sovereignty and restate . .
                                                                         15   . that French civil and criminal laws prohibit [Thomson] from
                                                                         16   disclosing . . . the information in dispute here."          Strauss, 249
                                                                         17   F.R.D. at 448.
                                                                         18         In short, neither the letter nor the specter of potential
                                                                         19   criminal prosecution is enough to convince the Court that this
                                                                         20   factor weighs anything more than minimally in Thomson's favor.
                                                                         21                    f.   Conclusion
                                                                         22          Having considered the relevant factors, they weigh in favor
                                                                         23   of permitting discovery to go forward in France pursuant to the
                                                                         24   Federal Rules of Civil Procedure.         Accordingly, on this point
                                                                         25   Thomson's objection is DENIED.
                                                                         26              2.    Remaining Objections
                                                                         27         Having found that the factors in Aerospatiale favor production
                                                                         28   pursuant to the Federal Rules, the Court must turn now to Thomson's



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                                                                          1   remaining two objections.     First, Thomson contends that the Special
                                                                          2   Master failed to appropriately weigh the burdens of production.
                                                                          3   Obj. at 3-5.    Second, Thomson objects to the Special Master's
                                                                          4   passing reference to trial phasing and Federal Rule of Civil
                                                                          5   Procedure 42(b) bifurcation motions to the extent he suggested that
                                                                          6   Thomson's claims may be tried on a different schedule than the
                                                                          7   other Defendants'.    Obj. at 5.
                                                                          8           The Rule 42(b) issue can be dispensed with quickly.         Nowhere
                                                                          9   was the Special Master suggesting that Thomson's case should be
                                                                         10   tried on a separate schedule than the remaining Defendants'.
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                                                                         11   Instead, the Court reads the Special Master to have simply pointed
                                                                         12   out the possibility that in ruling on the (then unseen) Rule 42(b)
                                                                         13   motions, the Court might factor in unfinished discovery issues.
                                                                         14   Now that those motions have been filed, it appears that neither
                                                                         15   side is seeking to try any of the Defendants on a separate schedule
                                                                         16   than the others, and the Court is acutely aware of the potential
                                                                         17   prejudice that Thomson would suffer were their claims to be tried
                                                                         18   on a different schedule.     See ECF No. 2897 ("IPP & DAP 42(b)
                                                                         19   Mot."); 2903 ("Best Buy Joinder"); 2914 ("Defs.' 42(b) Cross-
                                                                         20   Mot.").    As a result, the Court sees no reason the Special Master's
                                                                         21   aside regarding the Rule 42(b) motions undermines his (or the
                                                                         22   Court's) conclusion that DAPs are entitled the discovery at issue
                                                                         23   here.
                                                                         24           The issue of the burdens of discovery is more complicated, but
                                                                         25   ultimately does not alter the Court's conclusion.         In support of
                                                                         26   their objection on this basis, Thomson provides only scant citation
                                                                         27   to authority, but the Court takes their objection to be based on
                                                                         28   Rule 26's requirement that the Court limit discovery if it



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                                                                          1   determines that the discovery sought is "unreasonably cumulative or
                                                                          2   duplicative," "the party seeking discovery has had ample
                                                                          3   opportunity to obtain the information," or the burden of discovery
                                                                          4   outweighs its expected benefits.      Fed. R. Civ. P. 26(b)(2)(C)(i)-
                                                                          5   (iii).   Specifically Thomson argues that the Special Master was
                                                                          6   wrong when he concluded that "diligent efforts and cooperation
                                                                          7   between the parties should allow the discovery sought here to be
                                                                          8   completed in a matter of weeks, not months or years . . . ," and in
                                                                          9   any event, because DAPs have long been aware of the information
                                                                         10   they seek, the Court should deny the motion to compel.          See Obj. at
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                                                                         11   5 (citing Rule 26(b)(2)(C)(ii) for the proposition that Courts must
                                                                         12   limit discovery where "the party seeking discovery has had ample
                                                                         13   opportunity to obtain the information.").
                                                                         14        The Court is not entirely unsympathetic to Thomson's
                                                                         15   complaints.   As the Court previously observed, some of DAPs'
                                                                         16   requests are indeed broad.     Furthermore, Thomson's financial
                                                                         17   situation does appear to be less secure than that of many of the
                                                                         18   other Defendants.    Nonetheless, DAPs' requests are indisputably
                                                                         19   relevant, and even if not perfectly tailored, they are essential to
                                                                         20   DAPs' case against Thomson.      As Rule 26(b)(2)(C)(i) expressly
                                                                         21   contemplates, sometimes discovery may be somewhat cumulative or
                                                                         22   duplicative while nonetheless being permissible.         See id. (stating
                                                                         23   the court must limit discovery if it is "unreasonably cumulative or
                                                                         24   duplicative") (emphasis added).      Furthermore, "broad discovery may
                                                                         25   be needed to uncover evidence of invidious design, pattern, or
                                                                         26   intent" in antitrust cases.      In re Urethane Antitrust Litig., 261
                                                                         27   F.R.D. 570, 573 (D. Kan. 2009) (quoting source).          Accordingly, the
                                                                         28   Court finds no need to limit discovery on the bases enumerated in



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                                                                          1   Rule 26(b)(2)(C)(i).
                                                                          2        Second, Thomson's suggests that, because DAPs have been aware
                                                                          3   of the information sought since "sometime between 2011 and 2013,"
                                                                          4   the Court should deny them access to the information now.           Thomson
                                                                          5   is mistaken on this point as well.        First, it is difficult to
                                                                          6   conclude that DAPs have had "ample opportunity to obtain the
                                                                          7   information" at issue here given that discovery was stayed during
                                                                          8   the pendency of Thomson's motion to dismiss.         Benson Decl. at Ex. 3
                                                                          9   ("Order Staying Discovery").      Because of the stay, discovery
                                                                         10   against Thomson only began after March 13, 2014, when the Court
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                                                                         11   denied Thomson's motion to dismiss.       ECF No. 2240 ("Thomson MTD
                                                                         12   Order").   Furthermore it appears that DAPs have been
                                                                         13   extraordinarily diligent since that date, seeking the instant
                                                                         14   discovery as of April 2014 -- roughly a month after discovery of
                                                                         15   Thomson began -- and furnishing to the Court numerous other
                                                                         16   discovery requests also served on Thomson during that period.
                                                                         17   Benson Decl. ¶¶ 16-32 (showing numerous discovery requests since
                                                                         18   April 2014); ¶¶ 33-41 (outlining Sharp's initial efforts to seek
                                                                         19   the specific materials at issue here and the subsequent attempts to
                                                                         20   resolve those issues through meeting and conferring).          Accordingly,
                                                                         21   the Court cannot find DAPs had "ample" opportunity to obtain this
                                                                         22   discovery sooner.
                                                                         23        Finally, even if Thomson is right that the discovery sought
                                                                         24   will take longer than the Special Master suggested, that does not
                                                                         25   fatally undermine Judge Walker's recommendation.         After all, based
                                                                         26   on their motion to extend the discovery deadline, DAPs appear to
                                                                         27   believe that the discovery at issue here can be completed within
                                                                         28   sixty days of the signature date of this order.         See Deadline Mot.



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                                                                          1   at 4.    Thomson has offered no suggestions as to how long would be
                                                                          2   necessary to review and produce the documents at issue here, aside
                                                                          3   from saying that granting DAPs' requests will push discovery
                                                                          4   "months past the September 5, 2014 deadline," and "make it
                                                                          5   extremely difficult . . . to prepare for a March 2015 trial."         Obj.
                                                                          6   at 4.    Thomson's complaints about the challenges of translation and
                                                                          7   the size of the necessary productions are well met, but tempered by
                                                                          8   the fact that Thomson's production to date of 15,799 documents is
                                                                          9   paltry in the context of this large and complex case.          See Benson
                                                                         10   Decl. ¶¶ 6-7 (comparing Thomson's production with the approximately
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                                                                         11   1.2 million documents produced by all defendants).          Finally, even
                                                                         12   if the discovery at issue here is burdensome, Rule 26 once again
                                                                         13   recognizes that the burden of discovery must be weighed against its
                                                                         14   likely benefit.    Rule 26(b)(2)(C)(iii).      As the Court has
                                                                         15   repeatedly found, these materials are essential for DAPs' case
                                                                         16   against Thomson.    Accordingly, even considering the burdens of
                                                                         17   production on Thomson, the Court finds they are offset by the
                                                                         18   benefits of permitting this discovery.
                                                                         19           3.   Conclusion
                                                                         20           Having considered Thomson's objections to the Special Master's
                                                                         21   report and recommendations, the objection is DENIED.          Accordingly,
                                                                         22   DAPs' motion to compel is GRANTED.
                                                                         23   B.      Remaining Motions
                                                                         24           Having rejected Thomson's objections, two issues remain:
                                                                         25   First, DAPs' motions for the issuance of letters of request, and
                                                                         26   second, DAPs' motion to extend the discovery deadline.
                                                                         27           The Court believes that DAPs' motions for the issuance of
                                                                         28   letters of request may be denied as moot.        However, the record is



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                                                                          1   not sufficiently clear for the Court to do so at this time.          For
                                                                          2   instance, in DAPs' motion to compel before the Special Master, DAPs
                                                                          3   appear to seek only documents and perhaps just one Rule 30(b)(6)
                                                                          4   deponent.   R&R at 2.   Nonetheless DAPs' motion for the issuance of
                                                                          5   letters of request seeks depositions of four witnesses.
                                                                          6   Accordingly, within five (5) days of the signature date of this
                                                                          7   order, Sharp is ORDERED to file a statement of not more than four
                                                                          8   (4) pages explaining whether it wishes to continue to press its
                                                                          9   motions for the issuance of letters of request.         If Sharp does not
                                                                         10   file the statement within five days, the Court will deny the
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                                                                         11   motions for letters of request as moot.
                                                                         12        Turning finally to Sharp's motion for an extension of the
                                                                         13   discovery deadline, the Court finds that Sharp and DAPs have
                                                                         14   diligently pursued discovery against Thomson and good cause exists
                                                                         15   to extend the discovery deadline.         As the Ninth Circuit has
                                                                         16   observed, scheduling orders may be modified for good cause, and any
                                                                         17   analysis of good cause focuses "on the moving party's reasons for
                                                                         18   seeking modification.     If that party was not diligent, the inquiry
                                                                         19   should end."   Johnson, 975 F.2d at 609.       The Court has previously
                                                                         20   observed that "centering the good cause analysis on the moving
                                                                         21   party's diligence prevents parties from profiting from
                                                                         22   carelessness, unreasonability, or gamesmanship, while also not
                                                                         23   punishing parties for circumstances outside their control."          ECF
                                                                         24   No. 2877 ("Cal. AG Discover Order"), at 5 (citing Orozco v. Midland
                                                                         25   Credit Mgmt. Inc., No. 2:12-cv-02585-KJM-CKD, 2013 WL 3941318, at
                                                                         26   *3 (E.D. Cal. July 30, 2013)).
                                                                         27        Ultimately, the diligence inquiry comes down to two questions.
                                                                         28   First, did Sharp and DAPs unreasonably delay in seeking this



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                                                                          1   discovery given that they knew or should have known of the
                                                                          2   potential relevance of this discovery earlier?         Second, did DAPs
                                                                          3   act diligently after discovering Thomson's position on the
                                                                          4   applicability of the French Blocking Statute?         ECF No. 2554
                                                                          5   ("Thomson Discovery Stip.") at 4 (emphasis added).
                                                                          6         First, in Thomson's view, "it is undisputed that the DAPs knew
                                                                          7   of the potential relevance of" certain witnesses "no later than
                                                                          8   August 2013," yet failed to seek deposition testimony from them
                                                                          9   until much later.    However, as the Court noted earlier, discovery
                                                                         10   of Thomson was stayed for much of that time, and it appears that
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                                                                         11   DAPs specifically inquired as to the status of several of the
                                                                         12   witnesses at issue on April 11, 2014, approximately a month after
                                                                         13   the discovery stay was lifted.      Benson Decl. at Ex. 8.      Moreover,
                                                                         14   also approximately a month after discovery of Thomson began, DAPs
                                                                         15   served a Rule 30(b)(6) deposition notice on Thomson SA.             Id. at Ex.
                                                                         16   25.   Similarly, the requests for production at issue here were also
                                                                         17   promulgated in April 2014.     Id. at ¶¶ 16, 20.      Because Sharp and
                                                                         18   the other DAPs were pursing the witnesses and materials at issue at
                                                                         19   an early date, the Court finds that Sharp and the other DAPs acted
                                                                         20   diligently in seeking the discovery at issue here.
                                                                         21         Similarly, the Court cannot find a lack of diligence in DAPs'
                                                                         22   failure to pursue Hague Convention procedures earlier, or to
                                                                         23   otherwise seek judicial resolution of the parties' dispute about
                                                                         24   the applicability of the French Blocking Statute.         Thomson argues
                                                                         25   that DAPs "have known since, at the very latest, May 14, 2014,"
                                                                         26   that Thomson interpreted the French Blocking Statute to bar
                                                                         27   production of the documents and witnesses DAPs seek.          Deadline
                                                                         28   Opp'n at 5.   But the record shows that within thirteen days of



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                                                                          1   receiving Thomson's objections, DAPs sought to meet and confer
                                                                          2   regarding this and other issues and the parties' attempts to
                                                                          3   resolve their dispute continued for almost two months.          See Benson
                                                                          4   Decl. ¶¶ 33-41.   After that meet and confer process was completed,
                                                                          5   DAPs filed the motion to compel before Judge Walker within days.
                                                                          6   Given Thomson's prior suggestion that it would work to produce
                                                                          7   documents and witnesses without demanding Hague Convention
                                                                          8   procedures where possible, the Court cannot fault DAPs for
                                                                          9   proceeding as they did.     Furthermore, the Court certainly cannot
                                                                         10   conclude DAPs were not diligently pursuing discovery when they
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                                                                         11   were, in fact, making an effort to resolve these issues without
                                                                         12   pursuing them before the Special Master or the Court.
                                                                         13        Because the Court finds that Sharp and the other DAPs
                                                                         14   proceeded diligently in pursuing discovery against Thomson and good
                                                                         15   cause exists for an extension of the discovery deadline to permit
                                                                         16   document discovery and depositions to go forward, Sharp's motion to
                                                                         17   extend the discovery deadline to permit taking additional discovery
                                                                         18   from Thomson SA and Thomson Consumer is GRANTED.         The cutoff of
                                                                         19   discovery with Thomson will therefore be extended sixty (60) days
                                                                         20   from the signature date of this order.
                                                                         21
                                                                         22   V.   CONCLUSION
                                                                         23        The Court ORDERS as follows:
                                                                         24                Thomson's objection to the Special Master's report and
                                                                         25                 recommendation regarding DAPs' motion to compel is
                                                                         26                 DENIED.
                                                                         27                DAPs' motion to compel is GRANTED.
                                                                         28                Sharp is ORDERED to file within five (5) days of the



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                                                                          1                 signature date of this order, a statement of not more
                                                                          2                 than four (4) pages explaining whether it wishes to
                                                                          3                 continue to press its motions for the issuance of
                                                                          4                 letters of request.     If Sharp does not file the
                                                                          5                 statement within five days, the Court will deny the
                                                                          6                 motions for letters of request as moot.
                                                                          7                DAPs' motion to extend time for the taking of
                                                                          8                 discovery from Thomson SA and Thomson Consumer is
                                                                          9                 GRANTED.
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                                                                         11       IT IS SO ORDERED.
                                                                         12
                                                                         13       Dated: October 23, 2014
                                                                         14                                              UNITED STATES DISTRICT JUDGE

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